                   IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            CHARLOTTE DIVISION


                                  )                   DOCKET NO. 3:06CR00151
UNITED STATES of AMERICA,         )
                                  )
                                  )
              v.                  )
                                  )
(1) GIUSEPPE PILEGGI,             )
(2) HERMAN KANKRINI,              )
(3) MICHAEL ATTILIO MANGARELLA,   )                   ORDER TO UNSEAL
(4) DAVID MICHAEL HENNESSEY,      )                   SUPERSEDING INDICTMENT
(5) ROBERT KUSTRA,                )
(6) MARTIN KALCHSTEIN,            )
(7) LARRY EDWARD CUNNINGHAM       )
  a/k/a Russ Elkins,              )
(8) BRIAN WALL COYLE              )
  a/k/a Steven Blain              )
  a/k/a Boracho,                  )
(9) JESSE DAVID REID,             )
(10) VICTOR RONALD KUSTRA,        )
(11) MICHAEL FORCHEMER,           )
(12) ANDREAS ROMAN LEIMER,        )
(13) TRENT BRADFORD NYFFELER,     )
  a/k/a Tula,                     )
       and                        )
(14) RAY ANTHONY BINGHAM WANCHOPE )
  a/k/a Ray Bingham,              )
_________________________________ )

      UPON MOTION of the United States of America, by and through Gretchen C.F.

Shappert, United States Attorney for the Western District of North Carolina, for an order

unsealing the superseding indictment in the case numbered above; and

      IT APPEARING to the Court that the reasons for sealing the superseding

indictment no longer exist;




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     NOW, THEREFORE, IT IS ORDERED that the superseding indictment in the

above-numbered case be unsealed.



                                     Signed: January 3, 2007




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